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7

8
                                     UNITED STATES DISTRICT COURT
9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                          (OAKLAND DIVISION)
11

12
     DASTIME GROUP LIMITED, a British               Case No.: 4:17-cv-01859 (JSW)
13   Virgin Island Company, and KONSTANTIN
     GRIGORISHIN, an individual,
14                                                  RESPONDENT PETER
                      Petitioners,                  KIRITCHENKO’S CERTIFICATION OF
15
                                                    INTERESTED ENTITIES OR PERSONS
16         v.

17   MOONVALE INVESTMENTS LIMITED,                  Dept.: Courtroom 5 - 2nd Floor
     a British Virgin Islands Company and PETER     Judge: Jeffrey S. White
18   KIRICHENKO, an individual,
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                      Respondents.
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                PETER KIRITCHENKO’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                        Case No.: 4:17-cv-01859 (JSW)
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1            Pursuant to Civil L.R. 3-15, Respondent Peter Kiritchenko certifies that, other than the
2    named parties to this action and perhaps Dmitryi Buriak and Alexander Lebedev (who are believed
3    to be associated with Moonvale Investments Ltd.), he does not know of any persons, associations of
4    persons, firms, partnerships, corporations (including parent corporations), or other entities that have
5    either: (i) a financial interest of any kind in the subject matter in controversy or in a party to the
6    proceeding; or (ii) any other kind of interest that could be substantially affected by the outcome of
7    the proceeding.
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10   DATED: May 6, 2017                              KELLER, SLOAN & ROMAN LLP
11
                                             By:            /s/ Stan G. Roman
12                                                   STAN G. ROMAN
                                                     Attorneys for Respondent
13                                                   PETER KIRITCHENKO
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                PETER KIRITCHENKO’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                          Case No.: 4:17-cv-01859 (JSW)
